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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION



UNITED STATES OF AMERICA

vs.                                                  2:04-cr-14-FtM-29SPC

NOELVIS HERNANDEZ
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on defendant’s Notice of

Appeal (Doc. #170) filed on October 26, 2005. The government filed

its Response (Doc. #173) on November 17, 2005.

      The matter is before the Court pursuant to 18 U.S.C. § 3145,

and the Court conducts an independent de novo review to determine

whether the magistrate judge properly found that pretrial detention

was necessary.    United States v. King, 849 F.2d 485, 490 (11th Cir.

1988). This is defendant’s fifth motion for release; the only real

nuance to this case is the delay caused by the government’s pending

appeal of the Court’s suppression of certain critical evidence.            A

de novo review clearly establishes that the magistrate judge’s

Order was correct.       As even defendant concedes in his Initial

Brief, he has a history of misdemeanor convictions, some indication

of violence which was reduced to misdemeanors, and some failure to

appear for court proceedings.       There was no evidence presented to

the magistrate judge that the residence which supports the property

bond for Honorato Hernandez has a sufficient value to also support
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a property bond for defendant.       Additionally, it is not a foregone

conclusion that using property of another, even a relative, as

collateral is necessarily sufficient as to defendant.

      Accordingly, it is now

      ORDERED:

      Defendant’s Notice of Appeal (Doc. #170), construed as a

Motion for review, is DENIED and the decision of the Magistrate

Judge to detain defendant is affirmed.

      DONE AND ORDERED at Fort Myers, Florida, this          29th    day of

November, 2005.




Copies:
U.S. Magistrate Judge
Counsel of Record




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